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                             Exhibit A

                    Verified Complaint
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                                  COMMONWEALTH OF KENTUCKY
                                    FRANKLIN CIRCUIT COURT
                                        DIVISION _______

                                    CIVIL ACTION NO. ___________


        RIVER CITY FRATERNAL ORDER OF POLICE
        LODGE 614, INC.
             6204 Price Lane Road
             Louisville KY 40229

        JOHN W. ARNOLD
             5402 Pavilion Way
             Louisville, KY 40291

        JAMES DAVID WOOD
            2102 Hillcircle Road
            Louisville, KY 40214

        GARY W. SIMKINS




                                                                                                      Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
            12711 South Pope Lick Road
            Louisville, KY 40299

        JAMES K. LARKIN                                                              PLAINTIFFS
            8718 Whipps Mill Road
            Louisville, KY 40222S

        v.                                 VERIFIED COMPLAINT


        KENTUCKY RETIREMENT SYSTEMS
        by and through its Board of Trustees                                         DEFENDANT
        Serve: David L. Eager, Interim Director
               Kentucky Retirement Systems
               Perimeter Park West
               1260 Louisville Road
               Louisville, KY 40601
                                                                                                      COM : 000001 of 000009




                              *        *         *   *      *      *       *




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                 The Plaintiffs, by Counsel, hereby state for their Complaint in this matter as follows:

                                 ALLEGATIONS COMMON TO ALL COUNTS

                 1.     The Plaintiff, River City Fraternal Order of Police Lodge 614, Inc. (“FOP 614”) is

        the certified collective bargaining representative of police officers employed by the

        Louisville/Jefferson County Metropolitan Government in the ranks of patrol officer through

        captain, pursuant to KRS 67C.400 et seq. The membership of FOP 614 includes officers who

        have retired under the County Employees Retirement System (“CERS”) administered by the

        Defendant Kentucky Retirement Systems.

                 2.     The individual Plaintiffs, John W. Arnold, James David Wood, Gary W. Simkins,

        Sr., and James K. Larkin, are a former police officers who until their retirements were employed

        by Louisville Metro or one of its predecessors, or both, in a collective bargaining unit




                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        represented by FOP 614, participating in the CERS plan, and are currently members of FOP 614.

        Each is currently employed by an employer that offers a group health insurance plan.

                 3.     The Defendant Kentucky Retirement Systems Board of Trustees (“Retirement

        System”) is an entity capable of suing and being sued in its own name, established by legislative

        enactment of the Commonwealth of Kentucky, and charged with administering CERS, as well as

        the Kentucky Employees Retirement System and the Kentucky State Police Retirement System.

                 4.     This action is brought pursuant to: the Kentucky Declaratory Judgments Act; the

        “inviolable contract” established by KRS 78.852 between the Commonwealth of Kentucky and

        the individual Plaintiffs herein; the doctrine of equitable estoppel; and Section 2 of the Kentucky

        Constitution.
                                                                                                              COM : 000002 of 000009




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                 5.    FOP 614 has standing in this action by virtue of its status as collective bargaining

        representative of present and past officers who will or have retired under the CERS plan, as well

        as by virtue of its additional purpose of advocating for the benefit of retired police officers.

                 6.    An actual controversy exists concerning the rights of the individual Plaintiffs and

        the Defendant Retirement Systems by virtue of the Defendant’s deprivation of rights guaranteed

        to the individual Plaintiffs by Kentucky Statute, including in particular the statutorily created

        inviolable contract with each individual to provide the benefits promised them during their

        employment with an agency participating in CERS.

                 7.    Venue and territorial jurisdiction of this action are provided to this Court in that

        the Defendant Retirement Systems’ principle office is located in Franklin County, Kentucky.

                 8.    KRS 78.852, as in effect during the times when the individual Plaintiffs were




                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        employed by an agency participating in CERS, provided and continues to provide that in

        consideration of the contribution made by the individual Plaintiffs during their employment, and

        the benefits received from the member’s employment, an inviolable contract of the

        Commonwealth exists, and that the benefits provided in the statutes concerning the CERS

        retirement plan shall not be subject to reduction or impairment, except in circumstances not

        present in this matter.

                 9.    Among the benefits provided to the individual Plaintiffs by virtue of KRS 78.510

        to 78.852 is the provision of group hospital and medical insurance coverage as provided for in

        Kentucky statutes including KRS 61.702 as made applicable to CERS by its own terms as well

        as by KRS 78.545(35).
                                                                                                              COM : 000003 of 000009




                 10.   The above-described hospital/medical insurance coverage provided to the

        individual Plaintiffs in connection with their retirement under the CERS plan is a benefit




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        provided pursuant to KRS 78.50 to 78.852, and is therefore an element of the inviolable contract

        set out in KRS 78.852, and is consequently not subject to reduction or impairment by alteration,

        amendment, or repeal.

                 11.   By substantially identical letters sent in or around March 2017 to members of

        FOP 614 (and upon information and belief to others similarly situated) who (a) were or were

        about to become eligible for Medicare and (b) had retired under CERS and subsequently re-

        entered employment through which health insurance is available, the Retirement System stated

        to each letter recipient that the Medicare Secondary Act prohibited the Retirement Systems from

        offering them healthcare coverage secondary to Medicare, and that consequently his or her

        coverage through the Retirement Systems, as well as dependents covered on his or her policy,

        will terminate effective June 30, 2017. A copy of one such letter is attached hereto as Exhibit A.




                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 12.   Each of the individual Plaintiffs herein received one of the above-described letters

        from the Retirement System.

                 13.   The claim that the Medicare Secondary Act requires termination of healthcare

        coverage to the individual Plaintiffs is false, and is not supported by the language of that Act.

                 14.   Some of the individual Plaintiffs, and some of the other non-party members of

        FOP 614 who received the Retirement System’s letters as described above had received similar

        letters in 2016 after which the Retirement System had terminated their health insurance coverage

        but then later reinstated their coverage without explanation, but only after the individuals had

        incurred thousands of dollars in insurance premiums they should not have had to pay.

                 15.   Termination of the hospital/medical insurance coverage selected by the individual
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        Plaintiffs in connection with their retirement under the CERS plan will subject each of the

        individual Plaintiffs to irreparable harm, by causing them to incur greater health insurance




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        expenses, causing them the difficulty of finding alternative coverage, exposing them to the

        entirely possible occurrence of delay in obtaining alternate health coverage, and subjecting them

        to the possibility that they will not be able to secure comparable coverage and therefore have to

        forego medication or medical care they need.

                 16.    FOP 614, through Counsel, by letter of March 30, 2017, and by a second letter of

        May 17, 2017, the second enclosing an early draft of this Complaint, advised the Retirement

        System of the unlawful nature of the intent to terminate health insurance coverage stated in the

        above-described letter, requested the Retirement System to retract that letter, and stated

        unequivocally that suit would be filed in the absence of such retraction. The Retirement System

        did not reply to either letter.

                 17.    The Retirement Systems’ unilateral action in terminating the hospital/medical




                                                                                                             Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        insurance coverage selected by the individual Plaintiffs in connection with their retirement under

        the CERS plan of Kentucky Statute, constitutes arbitrary action in violation of Section 2 of the

        Kentucky Constitution.

                                                      COUNT I
                                                 Declaratory Judgment

                 18.    Plaintiffs re-allege and incorporate by reference the foregoing allegations.

                 19.    An actual controversy exists regarding the Defendant Retirement System’s stated

        intent to terminate the hospital/medical coverage selected by the individual Plaintiffs.

                 20.    The individual Plaintiffs and other members of FOP 614 have interests under the

        above-described inviolable contract, and rights that are affected by Kentucky and federal
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        statutes.

                 21.    Plaintiffs are therefore entitled to judgment declaring and adjudicating that

        termination of individual retirees’ hospital/ medical coverage as the Defendant Retirement



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        System states it intends to carry out is unlawful, and to such further relief as such judgment

        entitles them.

                                                     COUNT II
                                                     KRS 78.852

                 22.     Plaintiffs re-allege and incorporate by reference the foregoing allegations.

                 23.     The actions which the Defendant Retirement System has stated its intent to carry

        out as set out above constitute a violation of the inviolable contract established pursuant to KRS

        78.852.

                                                    COUNT III
                                                 Equitable Estoppel

                 24.     Plaintiffs re-allege and incorporate by reference the foregoing allegations.

                 25.     In making decisions regarding retirement options, including options relating to




                                                                                                             Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        medical/health insurance coverage, the individual Plaintiffs relied on the representations made to

        them by employees of the Retirement System whose job duties and functions included advising

        Retirement System members contemplating retirement.

                 26.     The individual Plaintiffs were induced to make their choices for healthcare

        coverage upon retirement under the CERS plan by the representations of the Retirement System

        employees made to them as they planned their retirements.

                 27.     The representations made to the individual Plaintiffs by Retirement System

        employees as described above have been rendered false by the Retirement Systems’ stated intent

        to terminate the individual Plaintiffs’ chosen healthcare coverage.

                 28.     The Retirement Systems is and should be estopped from terminating the
                                                                                                             COM : 000006 of 000009




        hospital/medical insurance coverage of the individual Plaintiffs, under the doctrine of equitable

        estoppel.




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                                                   COUNT IV
                                                 Ky. Const. Sect. 2

                 29.   Plaintiffs re-allege and incorporate by reference the foregoing allegations.

                 30.   Termination as set out above of hospital/medical insurance coverage provided to a

        retiree under the CERS plan, or to the retiree’s dependents, constitutes arbitrary governmental

        action prohibited by Section 2 of the Kentucky Constitution.

                                       EQUITABLE/INJUNCTIVE RELIEF

                 31.   Plaintiffs re-allege and incorporate by reference the foregoing allegations.

                 32.   The harm to the individual Plaintiffs resulting from the Retirement Systems’

        actions as described above is and will be irreparable, in that retirees or their beneficiaries will be

        deprived of health insurance coverage and may consequently be unable to afford needed




                                                                                                                 Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
        medications or medical services or both.

                 33.   Plaintiffs are therefore entitled to restraining order, temporary injunction, and

        permanent injunction prohibiting the Defendant Retirement System from terminating the

        individual Plaintiffs’ hospital/medical insurance and requiring the Defendant to reinstate

        retroactively the hospital/medical insurance of any individual Plaintiff whose insurance has been

        terminated as set out above.


                 WHEREFORE, Plaintiffs demand:

                 A.    Judgment of this Court adjudicating and declaring that termination of the

        hospital/medical insurance coverage provided through the Retirement System to the individual

        Plaintiffs and other retirees is and will be unlawful and contrary to KRS 78.852 and Section 2 of
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        the Kentucky Constitution, and that the Defendant Retirement System is estopped from carrying




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        out such action, and requiring the Defendant to make the affected parties whole for all losses

        resulting from actions by the Defendant determined herein to be unlawful.

                 B.     That this action be docketed for early hearing pursuant to KRS 418.050.

                 C.     Issuance of this Court’s emergency, temporary, and permanent injunctive relief

        prohibiting the Defendant Retirement System from terminating the hospital/medical insurance

        coverage of the individual Plaintiffs, and requiring the Retirement System to reinstate

        retroactively any coverage so terminated and to make all affected retirees whole for expenses

        incurred due to any previous cancellation of health insurance coverage contrary to the

        adjudication of this Court.

                 D.     Costs herein expended, including award of a reasonable attorney fee and of any

        expert witness expenses.




                                                                                                              Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                 E.     All further relief to which the Plaintiffs may be entitled.


                                                       RESPECTFULLY SUBMITTED,

                                                       s/David Leightty_______________
                                                       DAVID LEIGHTTY
                                                       PRIDDY, CUTLER, NAAKE & MEADE, PLLC
                                                       2303 River Road, Suite 300
                                                       Louisville, KY 40206
                                                       Tel.: (502) 632-5292
                                                       Fax: (502) 632-5293
                                                       dleightty@earthlink.net
                                                       COUNSEL FOR PLAINTIFFS


                                                  VERIFICATION

                 I, David Mutchler, having been duly sworn, state that I am the elected President of the
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        Plaintiff River City Fraternal Order of Police Lodge 614, Inc., that I have read the allegations in

        the foregoing Verified Complaint, and that the factual allegations therein are true to the best of




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              Medicare Secondary Payer (MSP) Manual
                                   Chapter 2 - MSP Provisions
                                             Table of Contents
                                            (Rev. 118, 04-28-16)

           Transmittals for Chapter 2
           10 - Medicare Secondary Payer Provisions for Working Aged Individuals
                   10.1 - Individuals Subject to Limitations on Payment
                   10.2 - Individuals Not Subject to the Limitation on Payment
                   10.3 - The 20-or-More Employees Requirement
                   10.4 - Working Aged Exception for Small Employers in Multi-Employer Group
                           Health Plans (GHPs)
           20 - Medicare Secondary Payer Provisions for End-Stage Renal Disease (ESRD)
                   Beneficiaries
                   20.1 - Determining the 30 Month Coordination Period During Which Medicare
                           May Be Secondary Payer
                           20.1.1 - Duration of Coordination Period




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                           20.1.2 - Determination for Subsequent Periods of ESRD Eligibility
                           20.1.3 - Dual Eligibility/Entitlement Situations
                   20.2 - Effect of ESRD MSP on Consolidated Omnibus Budget Reconciliation Act
                           (COBRA)
           30 - Medicare Secondary Payer Provision for Disabled Beneficiaries
                   30.1 - Individuals Not Subject to MSP Provision
                   30.2 - The 100 or More Employees Requirement
                   30.3 - Disabled Individuals Who Return to Work
                   30.4 - Dually Entitled Individuals
           40 - Liability Insurance
                   40.1 - Medicare's Recovery Rights
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           50 - Workers' Compensation (WC)
                   50.1 - Effect of Payments Under Workers' Compensation Plan
           60 - No-Fault Insurance
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           70 – Interest on MSP Recovery Claims
                 70.1 – MSP Debt Interest Calculation Methodology
                 70.2 – MSP Debt Interest Accrual
                        70.2.1 – MSP Debt Interest Accrual on Partial Payments


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                 70.3 – MSP Debt Interest Assessment
                        70.3.1 - Additional Rules with Regard to the Assessment and Collection of
                        Interest for MSP based Debts




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           The purpose of this chapter is to provide more detailed information concerning MSP
           provisions and the relationship of MSP to other laws. Detail provided here assists
           contractors with responses to questions from providers, physicians, and other suppliers,
           attorneys, employers, and other payers.

           10 - Medicare Secondary Payer Provisions for Working Aged
           Individuals
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare pays secondary to GHP coverage for individuals age 65 or over if the GHP
           coverage is by virtue of the individual's current employment status or the current
           employment status of the individual's spouse. Health insurance plans for retirees or the
           spouses of retirees do not meet this condition and are not primary to Medicare. The law
           requires employers (as defined in the MSP Manual, Chapter 1, "Background and
           Overview," §20) to offer to their employees age 65 or over and to the age 65 or over
           spouses of employees of any age the same coverage as they offer to employees and
           employees' spouses under age 65. For example, a plan may not provide benefits that are
           less for individuals age 65 or over or charge policyholders premiums that are higher for
           individuals age 65 or over since this would create an incentive for these individuals to
           reject the GHP coverage and make Medicare the primary payer. This provision applies
           whether or not the individual age 65 or over is entitled to Medicare. This equal benefit




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           rule applies to coverage offered to full-time and part-time employees.

           Medicare beneficiaries are free to reject employer plan coverage, in which case they
           retain Medicare as their primary coverage. When Medicare is primary payer, employers
           cannot offer such employees or their spouse’s secondary coverage of items and services
           covered by Medicare. The requirements for employer compliance with the MSP
           provisions may differ in some respects from the requirements for compliance with the
           Age Discrimination in Employment Act (ADEA). For example, the ADEA law applies
           only to employees, while the Medicare provision applies also to self-employed
           individuals.

           Where a GHP is primary payer, but does not pay in full for the services, secondary
           Medicare benefits may be paid to supplement the amount it paid for Medicare-covered
           services. If a GHP denies payment for services because they are not covered by the plan
           as a plan benefit bought for all covered individuals, primary Medicare benefits may be
           paid if the services are covered by Medicare. Primary Medicare benefits may NOT be
           paid if the plan denies payment because the plan does not cover the service for primary
           payment when provided to Medicare beneficiaries.

           A GHP's decision to pay or deny a claim because the services are or are not medically
                                                                                                         EXH : 000003 of 000035




           necessary is not binding on Medicare. Contractors evaluate claims under existing
           guidelines derived from the law and regulations to assure that Medicare covers the
           services regardless of any employer plan involvement.

           See definitions of employer and employee in Chapter 1.



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           An individual attains a particular age on the day preceding his or her birthday.

           10.1 - Individuals Subject to Limitations on Payment
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare pays secondary for Part A and Part B benefits for an individual who:

              •   Is age 65 or over;

              •   Is entitled to Part A (hospital insurance) on the basis of the individual’s own
                  Social Security or Railroad Retirement earnings record, or Federal quarters of
                  coverage, or the earnings record or the Federal quarters of coverage of another
                  person; and

              •   Is covered on the basis of individual's own current employment status or the
                  current employment status of the individual's spouse.

           Re-employed Retirees and Annuitants

           If a retiree or annuitant returns to work even for temporary periods, the employer is




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           required to provide the same coverage under the same conditions that the employer
           furnishes to other similarly situated employees (i.e., non-retirees). Medicare is secondary
           payer to the GHP that the employer provides to the re-employed retiree even if the
           premiums for coverage in the plan are paid from a retirement pension or fund. Medicare
           is also secondary payer for individuals associated with the employer in a business
           relationship such as consultants who are former employees, if the employer provides
           coverage for other such individuals.

           10.2 - Individuals Not Subject to the Limitation on Payment
           (Rev. 118, Issued: 04-28-16, Effective: 05-31-16, Implementation: 05-31-16)

           The Medicare secondary provision for working aged does not apply to:

              •   Individuals enrolled in Part B only;

              •   Individuals enrolled in Part A on the basis of a monthly premium.

              •   Anyone who is under age 65. (Medicare is secondary to large group health plans
                  (LGHPs) that cover at least one employer of 100 or more employees for certain
                                                                                                         EXH : 000004 of 000035



                  disabled individuals under age 65.);

              •   Individuals covered by a health plan other than a GHP as defined above, e.g., one
                  that is purchased by the individual privately, and not as a member of a group, and
                  for which payment is not made through an employer;



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              •   Employees of employers of fewer than 20 employees who are covered by a single
                  employer plan;

              •   Retired beneficiaries who are covered by GHPs as a result of past employment
                  and who do not have GHP coverage as the result of their own or a spouse's
                  current employment status;

              •   Individuals enrolled in single employer GHPs of employers with fewer than 20
                  employees; or

              •   Members of multi-employer plans whom the plan identified as employees of
                  employers with fewer than 20 employees, provided the plan formally elected (see
                  §10.4) to exempt the plan from making primary payment for employees and
                  spouses of employees of specifically identified employers with fewer than 20
                  employees.

              •   Domestic partners who are given “spousal” coverage by the GHP (see chapter 1,
                  section 10.1 of the Medicare Secondary Payer Manual); and

              •   Former spouses who have Federal Employees Health Benefit (FEHB) coverage
                  under the Spouse Equity Act.




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           10.3 - The 20-or-More Employees Requirement
           (Rev. 1, 10-01-03)

           The working aged MSP provision applies only to GHPs of employers with 20 or more
           employees and to multi-employer and multiple employer GHPs in which at least one
           employer employs 20 or more employees. This requirement is met if an employer has 20
           or more full-time and/or part-time employees for each working day in each of 20 or more
           calendar weeks in the current or preceding year. An employer is considered to have 20 or
           more employees for each working day of a particular week if the employer has at least 20
           full-time or part-time employees on its employment rolls each working day of that week.
           This condition is met as long as the total number of individuals on the employer's rolls
           adds up to at least 20 regardless of the number of employees who work or who are
           expected to report for work on a particular day. Self-employed individuals participating
           in a GHP are not counted as employees for purposes of determining if the 20-or-more
           employee requirement is met. An individual is considered to be on the employment rolls
           even if the employee does not work on a particular day. An employer may not have
           different employment rolls for different days reflecting those scheduled.
                                                                                                         EXH : 000005 of 000035



           Where an employer does not have 20 or more employees in the preceding year, it is
           required to offer its employees and spouses age 65 or over primary coverage beginning
           with the point in time at which the employer has had 20 or more employees on each
           working day of 20 calendar weeks of the current year. The employer is then required to
           offer primary coverage for the remainder of that year and throughout the following year



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           even if the number of employees drops below 20 after the employer has met the
           requirement.

           The 20-or-more employees requirement must be met at the time the individual receives
           the services for which Medicare benefits are claimed. If at that time the employer has
           met the 20-or- more employees requirement in the current year or in the preceding
           calendar year, the GHP is primary payer. An employer that meets this requirement must
           provide primary coverage even if less than 20 employees participate in the GHP. (See
           Chapter 1, §60, for determining the size of employers.)

           10.4 – Working Aged Exception for Small Employers in Multi-
           Employer Group Health Plans (GHPs)
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           A multi-employer GHP having at least one employer participating that has at least one
           employer with 20 or more employees may prospectively request to except employees
           (and their spouses) of identified employers with fewer than 20 employees from the
           working aged provision. Such members and their spouses are not subject to the working
           aged provision once an exception has been granted as long as the employer continues to
           meet the requirements for the exception.




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           Be advised that it is the GHP’s responsibility to provide written updates of any
           information that may affect the original exception request (updates should include
           identification of any employees not previously identified as well as information on any
           terminated coverage issues, etc.) to the Coordination of Benefits Contractor (COBC) as
           soon as any changes take place.

           The contractor shall forward any Small Employer Exception inquiry or request it receives
           to the COBC within 14 calendar days of receipt (this includes the previously specified
           documentation). The contractor shall simultaneously issue the PC generated model
           interim response shown in Exhibit A. Additionally, if the contractor receives an inquiry
           or request via telephone, the contractor shall inform the caller that the COBC is
           responsible for addressing such issues. The contractor shall direct the caller to submit the
           inquiry or request in writing to the COBC, at the address shown below.

           Exhibit A
           [Insert: DATE]
           [Insert: Name of Individual/Entity Who Made the Inquiry]
           [Insert: Street Address]
                                                                                                          EXH : 000006 of 000035




           [Insert: City, State, Zip]

           Re:    Procedures for Excepting Small Employers Participating in a Multi-employer
                  Plan for the Working Aged




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                  [Insert: Name of employer and/or GHP if included in the inquiry]

           Dear (Sir/Madam)

           Thank you for your inquiry on the multi-employer exception to the Medicare Secondary
           Payer provisions for the working aged employers with less than 20 employees. In order
           for your inquiry to be appropriately addressed, it will be forwarded to the Coordination of
           Benefits Contractor (COBC). After reviewing your inquiry, the COBC will respond
           accordingly.

           Please be advised that it is the GHP’s responsibility to provide written updates of any
           information that may affect/change the original exception request. Updates include
           identification of any employees not previously identified as well as information on any
           terminated coverage issues, etc. This information must be submitted to the COBC as soon
           as any change takes place. Updates must be submitted in writing directly to the COBC at
           the address provided below.

                  Medicare Coordination of Benefits
                  Attn: Small Employer Exception Request
                  P.O. Box 125
                  New York, NY 10274-0125




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           If you have any questions concerning this letter, please call the COBC at 1-800-999-
           1118.

                                                         Sincerely,

           20 - Medicare Secondary Payer Provisions for End-Stage Renal Disease
           (ESRD) Beneficiaries
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare is secondary payer to GHPs for individuals eligible for, or entitled to Medicare
           benefits based on ESRD during a coordination period described below. (See Chapter 1,
           "Background and Overview," §20, for definitions of eligibility and entitled.) This
           provision applies regardless of the number of employees employed by the employer and
           regardless of whether the individual or other family member has current employment
           status. The ESRD provision applies to former as well as to current employees. This
           provision applies where an individual is eligible for Medicare based on ESRD and where
           an individual is entitled to Medicare based on ESRD. An individual who has ESRD but
           who has not filed an application for entitlement to Medicare on that basis is eligible for
           Medicare based on ESRD for purposes of §20.1.1 or §20.1.3 if the individual meets the
                                                                                                         EXH : 000007 of 000035




           other requirements in Medicare Pub. 100-01, Medicare General Information, Eligibility
           and Entitlement, Chapter 2, §10.4.

           Prior to August 10, 1993 (the enactment date of OBRA 1993), if an individual was
           eligible for, or entitled to Medicare on more than one basis (i.e., ESRD and disability or



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           ESRD and age), Medicare was the primary payer. This is because the ESRD MSP
           provision only applied with respect to individuals who were eligible for, or entitled to
           Medicare based solely on ESRD. However, in general, §13561(c)(2) and (3) of OBRA
           1993 provided that plans must pay primary benefits during the coordination period
           regardless of whether the individual is also entitled to Medicare on another basis. (See
           §20.1.3 for dual entitlement provisions. Specifically, see §20.1.3.B, which discusses the
           dual entitlement provision under which a GHP remains secondary to Medicare during the
           30-month coordination period and litigation challenging that provision.)

           This provision applies to all Medicare-covered items and services furnished to
           beneficiaries who are in the 30-month period, including services for non-ESRD treatment
           and services required by kidney donors in cases of transplantation. This limitation applies
           for claims processing for items or services furnished to ESRD beneficiaries who are in
           their 30-months of eligibility or entitlement on the basis of ESRD.

           20.1 - Determining the 30 Month Coordination Period During Which
           Medicare May Be Secondary Payer
           (Rev. 1, 10-01-03)

           If Medicare was not the proper primary payer for an individual on the basis of age or
           disability at the time the individual became eligible for or entitled to Medicare on the




                                                                                                           Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           basis of End Stage Renal Disease, Medicare is secondary payer to GHPs for items and
           services furnished during a period of up to 30 consecutive months which begins with the
           earlier of:

              •   The month in which a regular course of renal dialysis is initiated, or

              •   If the patient undergoes a course of self-dialysis training the first day of the month
                  in which the training occurred, or

              •   If an individual who received a kidney transplant, the first month in which the
                  individual became entitled.

           NOTE: In the rare case of an untimely application by an individual who receives a
           transplant, the 30-month period could begin with the first month in which the individual
           would have been eligible for or entitled to Medicare benefits if a timely application had
           been filed. (See Medicare Pub 100-1, Medicare General Information, Eligibility and
           Entitlement, Chapter 2, §10.4, for the earliest possible month of eligibility or entitlement
           in transplant cases.) It is not necessary to consider this possibility absent a specific
           indication, e.g., information that the transplant occurred before the first month of
                                                                                                           EXH : 000008 of 000035



           eligibility or entitlement. If further development is required, the contractor should
           contact the SSO.

           When the 30-month period begins before the month the individual becomes eligible for
           or entitled to Medicare, contractors pay secondary benefits for the portion of the period
           during which the individual is eligible or entitled. The latter is the coordination period


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           (See Chapter 1, §20). Medicare entitlement usually begins with the third month after the
           month in which the individual starts a regular course of dialysis.

           20.1.1 - Duration of Coordination Period
           (Rev. 1, 10-01-03)

           The coordination period is a period that begins with the earlier of the first month of
           entitlement to or eligibility for Medicare Part A based on ESRD. Eligibility refers to the
           first month the individual would have become entitled to Medicare Part A on the basis of
           ESRD if he/she had filed an application for such benefits.

           Immediately prior to enactment of the Balanced Budget Act (BBA) of 1997, Medicare
           benefits were secondary to benefits payable under a GHP in the case of individuals
           eligible for or entitled to benefits on the basis of ESRD during an 18-month coordination
           period. Prior to OBRA 90, the ESRD coordination period was 9 to 12 months. The BBA
           extended the coordination period to 30 months for any individual whose coordination
           period began on or after March 1, 1996. Therefore, individuals who have not completed
           an 18-month coordination period by July 1, 1997, will have a 30-month coordination
           period.

           EXAMPLE 1:




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           Coordination Period Ended on or Before July 31, 1997:

           An individual began a course of maintenance dialysis in October 1995. He became
           entitled to Medicare based on ESRD effective January 1, 1996. The GHP must pay
           primary to Medicare through June 1997, the end of the 18-month period.

           EXAMPLE 2:

           Coordination Period Began on or After March 1, 1996:

           An individual began maintenance dialysis on November 17, 1996, and thus becomes
           entitled to Medicare effective February 1, 1997. Medicare is secondary payer from
           February 1, 1997, through July 1999, a total of 30 months.

           Eligibility refers to the first month the individual would have become entitled to
           Medicare Part A on the basis of ESRD if an application were filed for such benefits. In
           the rare case of an untimely application by an individual, the coordination period could
           begin with the first month in which the individual would have been entitled to Medicare
           benefits if a timely application had been filed. (See Pub 100-01, Medicare General
                                                                                                          EXH : 000009 of 000035




           Information, Eligibility, and Entitlement Manual, Chapter 2, §§10.4.2 and 10.4.3, for the
           earliest possible month of entitlement in self-dialysis training or transplant cases.) It is
           not necessary to consider this possibility absent a specific indication, e.g., information
           that the transplant occurred before the first month of entitlement. If further development
           is required, contractors contact the RO.



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           When the coordination period begins before the month the individual becomes entitled to
           Medicare, the contractor pays secondary benefits for the portion of the period during
           which the individual is entitled. (See §20.1.1.) Medicare entitlement usually begins with
           the third month after the month in which the individual starts a regular course of dialysis.
           However, for individuals who undertake a course in self-dialysis training or who receive
           a kidney transplant during the 3-month waiting period, Medicare may be the secondary
           payer for up to the first 30 months of the individual's entitlement.

           Individuals eligible for Medicare on the basis on ESRD cannot enroll for Part B in a SEP
           but can defer entitlement to both Part A and B and file an initial application later, usually
           at the end of the coordination period.

           A. 30-Month Coordination Period as a Result of the BBA of 1997

           Section 4631(b) of the BBA of 1997 permanently extends the coordination period to 30
           months for any individual whose coordination period began on or after March 1, 1996.
           Therefore, individuals who have not completed an 18-month coordination period by July
           31, 1997, will have a 30-month coordination period under the new law. This provision
           does not apply to individuals who would reach the 18-month point on or before July 31,
           1997. These individuals would continue to have an 18-month coordination period.




                                                                                                           Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           20.1.2 - Determination for Subsequent Periods of ESRD Eligibility
           (Rev. 1, 10-01-03)

           If an individual has more than one period of eligibility or entitlement based solely on
           ESRD, a coordination period is determined for each period of eligibility in accordance
           with §20.1.1, subsection A. If Medicare entitlement is not correctly terminated three
           years after a successful transplant, it is still considered a new period of eligibility and
           consequently a new coordination period begins.

           20.1.3 - Dual Eligibility/Entitlement Situations
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           If an individual also becomes entitled to Medicare based on age 65 or disability after
           being entitled based on ESRD, the coordination period continues for the remainder of the
           30-months if Medicare was properly the secondary payer at the time of the dual
           entitlement.

           When an individual is eligible for, or entitled to Medicare based on ESRD and also
           entitled on the basis of age or disability, the coordination of benefits is described below.
                                                                                                           EXH : 000010 of 000035




           Except as provided in subsection B, GHPs are subject to a 30-month coordination period
           for any plan enrollee eligible for, or entitled to Medicare based on ESRD, regardless of
           whether that individual also is entitled to Medicare on the basis of age or disability. The
           30-month period coincides with the first 30 months of ESRD-based Part A Medicare



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           eligibility or entitlement. (Under previous law, Medicare automatically became the
           primary payer at the point of dual Medicare eligibility/entitlement.) As long as dual
           eligibility/entitlement exists, the ESRD MSP provision applies exclusively. Medicare
           becomes the primary payer after the 30th month of ESRD-based eligibility/entitlement
           even though plan coverage may be in effect by reason of current employment status.
           That is, the working aged MSP provisions (see §10) and the disability MSP provisions
           (see §30) do not apply to individuals with ESRD during or after the 30-month
           coordination period.

           Subsection A, below, deals with coordination periods governed by present law and
           provides examples. Subsection B specifies the circumstances under which the ESRD
           MSP provision does not apply in dual entitlement situations and provides an example.
           Subsection C deals with circumstances in which Medicare continues to be primary when
           an individual is entitled to Medicare based on age or disability and then ESRD with no
           GHP coverage but obtains GHP coverage during the coordination period and provides an
           example. Subsection D deals with the effect of the cessation of dual entitlement.

           A - Circumstances in Which Medicare Continues to be Secondary After Aged or
           Disabled Beneficiary Becomes Eligible for, or Entitled to Medicare on the Basis of
           ESRD




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           Medicare is secondary payer during the first 30 months of ESRD-based eligibility and
           entitlement and becomes primary payer after the 30th month of ESRD-based eligibility or
           entitlement if Medicare was not properly primary prior to ESRD-based eligibility. (Refer
           to subsection B below if Medicare is properly primary.)

           EXAMPLE 1

           Mr. C, who is 67 years old and entitled to Medicare on the basis of age, has GHP
           coverage by virtue of current employment status. Mr. C is diagnosed as having ESRD
           and begins a course of maintenance dialysis on June 27, 2000. Effective September 1,
           2000, Mr. C is eligible for Medicare on the basis of ESRD. Medicare, which was
           secondary because Mr. C's GHP coverage was by virtue of current employment,
           continues to be secondary payer through February 2003, the 30th month of ESRD-based
           eligibility, and becomes primary payer beginning March 2003.

           EXAMPLE 2

           Mr. D retired at age 62 and maintained GHP coverage as a retiree. In January 2000 at the
           age of 64, Mr. D became entitled to Medicare based on ESRD. Seven months into the
           30-month coordination period (July 2000), Mr. D turned age 65. The coordination period
                                                                                                         EXH : 000011 of 000035




           continues without regard to age-based entitlement with the retirement plan continuing to
           pay primary benefits through June 2003, the 30th month of ESRD-based entitlement.
           Thereafter, Medicare becomes the primary payer beginning July 2003.

           EXAMPLE 3



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           Mr. E retired at age 62 and maintained GHP coverage as a retiree. In July 2000, he
           simultaneously became eligible for Medicare based on ESRD (maintenance dialysis
           began in April 2000) and entitled based on age. The retirement plan must pay benefits
           primary to Medicare from July 2000 through December 2002, the first 30 months of
           ESRD-based eligibility. Medicare becomes the primary payer beginning January 2003.

           B - Circumstances in Which Medicare Continues to be Primary After Aged or Disabled
           Beneficiary Becomes Eligible on Basis of ESRD

           Medicare remains the primary payer when an individual becomes eligible for Medicare
           based on ESRD if both of the following conditions are met:

           •   The individual is already entitled on the basis of age or disability when he/she
               becomes eligible on the basis of ESRD.

           •   The MSP prohibition against "taking into account" age-based or disability-based
               entitlement does not apply because plan coverage was not "by virtue of current
               employment status" or the employer had fewer than 20 employees (in the case of the
               aged) or fewer than 100 employees (in the case of the disabled).

           The plan may continue to pay benefits secondary to Medicare under this subsection.




                                                                                                          Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           However, the plan may not differentiate in the services covered and the payments made
           between persons who have ESRD and those who do not.

           EXAMPLE

           Mrs. G, who is 67 years of age, is retired. She has GHP retirement coverage through her
           former employer. Her plan permissibly took into account her age-based Medicare
           entitlement when she retired and is paying benefits secondary to Medicare. Mrs. G
           subsequently develops ESRD and begins a course of maintenance dialysis in October
           2000. She automatically becomes eligible for Medicare based on ESRD effective
           January 1, 2001. The plan continues to be secondary on the basis of Mrs. G's age-based
           entitlement as long as the plan does not differentiate in the services it provides to Mrs. G
           and does not do anything else that would constitute "taking into account" her ESRD-
           based eligibility.

           C – Circumstances in Which Medicare Continues to be Primary When Individual is
           Entitled to Medicare Based on Age or Disability and then ESRD with no GHP Coverage
           but Obtains GHP Coverage During the Coordination Period

           If Medicare is the proper primary payer for services when eligibility for Medicare based
                                                                                                          EXH : 000012 of 000035




           on ESRD is established, Medicare remains the primary payer (during the coordination
           period and afterwards). Medicare is considered to be the primary payer when Medicare
           is the only payer or Medicare is legally obligated to be the primary payer to any GHP
           coverage.




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           EXAMPLE

           Mr. Z is 67 years old and has Medicare based on age. He has no GHP coverage. Mr. Z
           develops ESRD and begins a course in maintenance dialysis and becomes eligible for
           Medicare based on ESRD which triggers the 30-month coordination period. However,
           Mr. Z has no GHP coverage and Medicare continues as the primary payer. In the 6th
           month of the coordination period Mr. Z obtains coverage through his wife’s GHP. Since
           Medicare was the proper primary payer when eligibility for ESRD was established,
           Medicare remains the primary payer.

           D - Dual Eligibility/Entitlement Ceases

           If ESRD-based eligibility or entitlement ceases in accordance with the Medicare Pub.
           100-01, Medicare General Information, Eligibility and Entitlement, Chapter 2, §10.4,
           Medicare is the primary payer unless plan coverage is in effect by virtue of current
           employment status, and the provisions of §§10 and 20 or 30 apply.

           20.2 - Effect of ESRD MSP on Consolidated Omnibus Budget
           Reconciliation Act (COBRA)
           (Rev. 1, 10-01-03)




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           A. General

           The COBRA requires that certain GHPs offer continuation of plan coverage for 18 to 36
           months after the occurrence of certain qualifying events, including loss of employment or
           reduction of employment hours. Those are events that otherwise would result in loss of
           GHP coverage unless the individual is given the opportunity to elect and does elect to
           continue plan coverage at his/her own expense.

           On June 8, 1998, the Supreme Court in "Geissal v. Moore Medical Corp." invalidated the
           COBRA continuation of health care coverage regulations with respect to when a GHP
           may terminate COBRA coverage. The court ruled that individuals who obtain other
           coverage (including Medicare) on or before the COBRA election date are permitted to
           continue this coverage along with COBRA. Thus, where ESRD-based Medicare
           entitlement predates the COBRA qualifying event, the plan is obligated to offer COBRA
           coverage for a qualifying event such as termination of employment. To the extent the
           period of COBRA coverage overlaps the ESRD MSP coordination period, COBRA is
           primary and the employer plan has no discretion to terminate COBRA because of the
           ESRD-based Medicare entitlement. Those individuals who obtain other coverage
           (including Medicare) after the COBRA election date can be terminated from COBRA
           coverage. This means that where COBRA coverage came first, the employer may
                                                                                                         EXH : 000013 of 000035




           terminate existing COBRA coverage under its health plan when Medicare entitlement
           occurs. Where COBRA expressly permits termination of continuation coverage upon
           entitlement to Medicare there is one exception. The exception is that the plan may not
           terminate continuation coverage of an individual (and the individual's qualified
           dependents) if the individual retires on or before the date the employer substantially



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           eliminates regular plan coverage by filing for Chapter 11, Bankruptcy. (See 26 U.S.C.
           4980B(g)(1)(D), 29 U.S.C. 1162(2)(D), and 1167(3)(C).)

           B. Medicare is Secondary to COBRA Coverage

           To the extent COBRA coverage overlaps the 30-month ESRD MSP coordination period,
           Medicare is secondary payer for benefits that a GHP:

              •   Is required to keep in effect under the COBRA continuation requirements where
                  Medicare entitlement occurs first; or

              •   Is required to keep in effect under the COBRA continuation requirements even
                  after the individual becomes entitled to Medicare based on ESRD (i.e., the
                  bankruptcy situation as described in subsection A above); or

              •   Voluntarily keeps in effect after the individual becomes entitled to Medicare on
                  the basis of ESRD even though not obligated to do so under the COBRA
                  provisions.

           30 - Medicare Secondary Payer Provision for Disabled Beneficiaries
           (Rev. 1, 10-01-03)




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
           Medicare is secondary payer to "large group health plans" (LGHPs) for individuals under
           age 65 entitled to Medicare on the basis of disability and whose LGHP coverage is based
           on the individual's current employment status or the current employment status of a
           family member. (See Chapter 1, §50, for definition.) Under the law, a LGHP may not
           "take into account" that such an individual is eligible for, or receives, Medicare benefits
           based on disability. Apply the instructions in chapter 1 in processing claims where
           Medicare is secondary payer for disabled individuals. Where those sections refer to a
           GHP of 20 or more employees, substitute the term "large group health plan" as defined in
           Chapter 1, §20, to apply them to disabled individuals.

           Medicare is secondary payer to LGHP coverage based on an individual's or family
           members current employment status for services provided on or after August 10, 1993.

           30.1 - Individuals Not Subject to MSP Provision
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare is not secondary under the MSP for the disabled provision for individuals:

            • Who work or whose family member works for employers of fewer than 100
                                                                                                         EXH : 000014 of 000035




            employees unless the GHP is a multi-employer plan in which at least one employer of
            100 or more employees participates;

            • Covered by an LGHP as a result of past employment (e.g., as a retired former
            employee or as the spouse of a retired former employee) and whose coverage is not also


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            based on current employment status of their own or a family members current
            employment status (see Chapter 1, §50);

              •   Covered by a health plan other than an LGHP (e.g., one that is purchased by the
                  individual privately and not through an employer);

              •   Who have FEHB coverage under the Spouse Equity Act;

              o Individuals enrolled in Part B only; or

              o Individuals enrolled in Part A on the basis of a monthly premium.

           30.2 - The 100 or More Employees Requirement
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

              •   The Medicare as secondary for the disabled provision applies only to LGHPs that
                  cover employees of at least one employer that employed 100 or more full-time
                  and/or part-time employees on 50 percent or more of its business days during the
                  previous calendar year.

              •




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                  Medicare is secondary for all employees enrolled in the plan if a plan is a multi-
                  employer plan, such as a union plan which covers employees of some small
                  employers and also employees of at least one employer that meets the 100-or-
                  more employee requirement, including those that work for small employers. The
                  exception discussed in §10.4 with respect to the working aged provision does not
                  apply to the Medicare as secondary for the disabled provision. An employer will
                  be considered to employ 100 or more employees on a particular day if the
                  employer has at least 100 full-time or part-time employees on his/her employment
                  rolls on that day. This condition is met as long as the total number of individuals
                  on the employer's rolls adds up to at least 100 regardless of the number of
                  employees who work or who are expected to report for work on that day.

           Self-employed individuals who participate in an LGHP are not counted as employees for
           purposes of determining if the 100-or-more employee requirement is met. If an employer
           does not meet the 100-or-more employees requirement in a particular year, the employer
           may offer employees coverage that is secondary to Medicare during the following year.
           If the employer meets the 100-or-more employee requirement at any time during the
           current year, the employer is required to provide employees with coverage that is primary
           to Medicare during the following year.

           30.3 - Disabled Individuals Who Return to Work
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           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

              •   If a disabled individual who has LGHP coverage based on prior service to the
                  employer returns to work, the coverage is considered to be by virtue of current
                  employment status if the employer provides coverage to similarly situated


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                  individuals who are not disabled. Similarly situated individuals are individuals
                  who work in the same category of employment and who perform the same
                  amount of work. Such services may be based, for example, on the number of
                  hours worked or the amount of earnings.

           30.4 - Dually Entitled Individuals
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           If a disabled individual is also eligible for, or entitled to Medicare under the ESRD
           provisions, follow the rules in §20.1.3 under which Medicare is secondary payer for the
           applicable 30-month coordination period.

           40 - Liability Insurance
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Under §1862(b)(2) of the Act, (42 U.S.C. 1395y(b)(1)), Medicare does not make
           payment for covered items or services to the extent that payment has been made, or can
           reasonably be expected to be made under a liability insurance policy or plan (including a
           self-insured plan). Under certain circumstances, Medicare may make conditional
           payments if the liability insurance will not pay or will not pay promptly. Conditional
           payments are conditioned on reimbursement to the Medicare program to the extent that




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           payment with respect to the same items or services has been made, or could be made,
           under a liability insurance policy or plan (including a self-insured plan).

           40.1 - Medicare’s Recovery Rights
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare has a statutory direct right of recovery from the liability insurance as well as
           any entity that has received payment directly or indirectly from the proceeds of a liability
           insurance payment. Medicare's recovery rights take precedence over the claims of any
           other party, including Medicaid. Medicare's recovery right is superior to other entities
           including Medicaid because Medicare’s direct right of recovery is explicitly prescribed in
           Federal law and other entities’ recovery rights are based on either State law or
           subrogation rights.

           In addition to its direct rights of recovery, Medicare has subrogation rights.
           "Subrogation" literally means the substitution of one person or entity for another. If
           Medicare exercises its subrogation rights, Medicare is a claimant against the responsible
           party and the liability insurer to the extent that Medicare has made payments to or on
           behalf of the beneficiary for services related to claims against the alleged tortfeasor (and
           the alleged tortfeasor’s liability insurance). Medicare can be a party to any claim by a
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           beneficiary or other entity against an alleged tortfeasor and/or his/her liability insurance
           and can participate in negotiations concerning the total liability insurance payment and
           the amount to be repaid to Medicare.




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           40.2 - Billing in MSP Liability Insurance Situations
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           A - Difference Between Liability Insurance and Other Primary Plans

           Liability insurance differs from the other insurance policies or plans that, under §1862(b)
           of the Act, are primary to Medicare. In the case of other types of insurance that are
           primary to Medicare, i.e., no-fault insurance, group health plans, and workers'
           compensation, the insurance has a contractual obligation to pay for medical services
           provided to the covered/injured person. Liability insurance, however, has a contractual
           obligation to compensate the alleged tortfeasor for any damages the alleged tortfeasor
           must pay to an injured party.

           B – Billing Options and Requirements – Alternative Billing

           Generally, providers, physicians, and other suppliers must bill liability insurance prior to
           the expiration of the promptly period rather than bill Medicare. (The filing of an
           acceptable lien against a beneficiary’s liability insurance settlement is considered billing
           the liability insurance.) Promptly means payment within 120 days after the earlier of: 1)
           the date the claim is filed with an insurer or a lien is filed against a potential liability
           settlement; or 2) the date the service was furnished or, in the case of inpatient hospital




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           services, the date of discharge) rather than bill Medicare. Following expiration of the
           promptly period, or if demonstrated (e.g., a bill/claim that had been submitted but not
           paid) that liability insurance will not pay during the promptly period, a provider,
           physician, or other supplier may either:

              •   bill Medicare for payment and withdraw all claims/liens against the liability
                  insurance/beneficiary’s liability insurance settlement (liens may be maintained for
                  services not covered by Medicare and for Medicare deductibles and coinsurance);
                  or

              •   maintain all claims/liens against the liability insurance/beneficiary’s liability
                  insurance settlement.

           C – Special Rule for Oregon

           As a result of a court order, providers, physicians, and other suppliers in Oregon:

              •   may either (i.e., double billing is not permitted) bill Medicare or bill liability
                  insurance (the filing of a lien against a beneficiary’s liability insurance settlement
                  is considered billing the liability insurance) if the liability insurer pays within 120
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                  days after the earlier of the following dates:

                      o the date the provider or supplier files a claim with the insurer or places a
                        lien against a potential liability settlement; or




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                      o the date the services were provided or, in the case of inpatient hospital
                        services, the date of discharge.

              •   must withdraw claims/liens against the liability insurance/beneficiary’s liability
                  insurance settlement following expiration of the 120-day period and bill
                  Medicare.

           However, CMS will not terminate the provider agreement of a provider that does not
           comply with the court order if that provider is following the procedures outlined in B
           above.

           D – Charges to Beneficiaries

           Provider Charges to Beneficiaries for Services Covered By Medicare

           The following applies to providers who participate in Medicare, emergency hospitals who
           do not participate in Medicare, and foreign hospitals with an election to bill Medicare:

              •   if the provider bills Medicare, the provider must accept the Medicare approved
                  amount as payment in full and may charge beneficiaries only deductibles and
                  coinsurance.




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              •   if the provider pursues liability insurance, the provider may charge beneficiaries
                  actual charges, up to the amount of the proceeds of the liability insurance less
                  applicable procurement costs but may not collect payment from the beneficiary
                  until after the proceeds of the liability insurance are available to the beneficiary.

           Physician and Other Supplier Charges to Beneficiaries for Services Covered By Medicare

           The following applies to physicians and other suppliers who participate in Medicare:

              •   if the physician or other supplier bills Medicare, the physician or other supplier
                  must accept the Medicare approved amount as payment in full and may charge
                  beneficiaries only deductibles and coinsurance.

              •   if the physician or other supplier pursues liability insurance, the physician or other
                  supplier may charge beneficiaries actual charges, up to the amount of the
                  proceeds of the liability insurance less applicable procurement costs but may not
                  collect payment from the beneficiary until after the proceeds of the liability
                  insurance are available to the beneficiary.
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           The following applies to physicians and other suppliers who do not participate in
           Medicare and who submit or would be required to submit an assigned claim:




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              •   if the physician or other supplier bills Medicare, the physician or other supplier
                  must accept the Medicare approved amount as payment in full and may charge
                  beneficiaries only deductibles and coinsurance.

              •   if the physician or other supplier pursues liability insurance, the physician or other
                  supplier may charge beneficiaries actual charges, up to the amount of the
                  proceeds of the liability insurance less applicable procurement costs but may not
                  collect payment from the beneficiary until after the proceeds of the liability
                  insurance are available to the beneficiary.

           Physicians and other suppliers who do not participate in Medicare and who submit an
           unassigned claim may charge beneficiaries no more than the limiting charge and may
           collect without regard to whether the liability insurance is available to the beneficiary.

           Physicians and other suppliers who do not participate in Medicare, do not submit an
           unassigned claim, and are not required to submit an assigned claim if they submitted a
           claim to Medicare, may pursue liability insurance but the amount may not exceed the
           limiting charge.

           Charges to Beneficiaries for Services Not Covered by Medicare




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              •   For services for which there is no Medicare coverage available regardless of who
                  furnishes them, providers, physicians, and other suppliers may charge and collect
                  actual charges from beneficiaries without regard to whether the proceeds of the
                  liability insurance are available to the beneficiary.

              •   For services of foreign hospitals that have no election to bill Medicare, providers
                  may charge and collect actual charges from beneficiaries without regard to
                  whether the proceeds of the liability insurance are available to the beneficiary.

              •   For services of foreign physicians and other suppliers, the physician or other
                  supplier may charge and collect actual charges from beneficiaries without regard
                  to whether the proceeds of the liability insurance are available to the beneficiary.

           E – Provider, Physician, or Other Supplier Bills Medicare and Maintains Claim/Lien
           Against the Liability Insurance/Beneficiary’s Liability Insurance Settlement

           As cited above in B, providers, physicians, and other suppliers must withdraw all
           claims/liens against liability insurance/beneficiary’s liability insurance settlement (except
           for claims related to services not covered by Medicare and for Medicare deductibles and
           coinsurance) when they bill Medicare. You may learn of a situation where the provider,
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           physician, or other supplier billed Medicare but did not withdraw the claim/lien. In such
           situations you must:

              •   Advise the provider, physician, or other supplier and beneficiary that the act of
                  billing Medicare limits the payment that the provider, physician, or other supplier



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                  may receive for the services billed to the Medicare approved amount. This
                  applies even if Medicare did not pay the claim or the provider, physician, or other
                  supplier refunded the Medicare payment to Medicare.

              •   If the provider, physician, or other supplier collected on a claim/lien after billing
                  Medicare, advise the provider, physician, or other supplier and beneficiary that:

                     o the provider, physician, or other supplier must refund the Medicare
                       payment in instances where the amount collected on the claim/lien is for
                       the full charges of the claim/lien and the Medicare payment is greater than
                       or equal to the full charges of the claim/lien and greater than or equal to
                       the amount collected on the claim/lien (see example one below for an
                       illustration of this policy); or

                     o the provider, physician, or other supplier must refund the lesser of the
                       amount collected on the claim/lien or the Medicare payment in instances
                       where the amount collected on the claim/lien is less than the full charges
                       of the claim/lien due to policy limits (see example two below for an
                       illustration of this policy); and

                     o the provider, physician, or other supplier must refund to the beneficiary




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                       the difference between the amount collected on the claim/lien and the
                       Medicare payment if the provider, physician, or other supplier received
                       payment for services not covered by Medicare and for Medicare
                       deductibles and coinsurance (see example three below for an illustration of
                       this policy); or

                     o the provider, physician, or other supplier must refund to the beneficiary
                       the difference between the amount collected on the claim/lien and the
                       Medicare payment less any amounts due from the beneficiary for services
                       not covered by Medicare and for Medicare deductibles and coinsurance
                       (see example four below for an illustration of this policy).

                     EXAMPLES

                             Example one: Charges from the facility are $5,000. Medicare is
                             billed. The facility receives $8,000 from Medicare. The facility
                             receives $5,000 from the liability insurance. The facility must repay
                             Medicare $8,000.

                             Example two: Charges from the facility are $150,000. Medicare is
                                                                                                          EXH : 000020 of 000035




                             billed. The facility receives $110,000 from Medicare. The facility
                             receives $100,000 (due to policy limits) from the liability insurance.
                             The facility must repay Medicare $100,000.




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                              Example three: Charges from the facility are $1,000. Medicare is
                              billed. The Medicare allowable is $800.00. The Medicare deductible
                              has been satisfied. The Medicare coinsurance of $160.00 has been
                              paid. There are no charges for non-covered Medicare services. The
                              facility receives $640.00 from Medicare. The facility receives $1,000
                              from the liability insurance. The facility must repay Medicare $640.00
                              and send $360.00 to the Medicare beneficiary.

                              Example four: Charges from the facility are $1,000. Medicare is
                              billed. The Medicare allowable is $800.00. The Medicare deducible
                              has been satisfied. The Medicare coinsurance of $160.00 has not been
                              paid. There are $50.00 in charges for non-covered Medicare services.
                              The facility receives $640.00 from Medicare. The facility receives
                              $1,000 from the liability insurance. The facility must repay Medicare
                              $640.00. The facility may retain $210.00 for the unpaid Medicare
                              coinsurance and charges for the non-covered Medicare services. The
                              facility must send to the Medicare beneficiary the remainder of the
                              liability insurance payment ($150.00).

           F – Permissible Liens




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           The MSP provisions do not create lien rights when those rights do not exist under State
           law. Where permitted by State law, a provider, physician, or other supplier may file a
           lien for full charges against a beneficiary’s liability settlement. (A lien against a
           beneficiary will be considered a lien against a liability settlement if there is a binding
           agreement that the lien will only be enforced if there is a settlement and will be
           withdrawn otherwise.)

              •   The provider, physician, or other supplier may enforce a permissible lien up to the
                  lesser of the amount of the settlement and charges for the services incorporated in
                  the lien. The provider, physician, or other supplier may not charge interest, lien
                  filing, and administrative fees to the beneficiary or against the lien.

           50 - Workers' Compensation (WC)
           (Rev. 113, Issued: 08-06-15, Effective: 01-01-16, Implementation: 01-04-16)

           A - General

           Payment under Medicare may not be made for any items and services to the extent that
           payment has been made or can reasonably be expected to be made for such items or
           services under a WC law or plan of the United States or any State. If it is determined that
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           Medicare has paid for items or services that can be or could have been paid for under
           WC, the Medicare payment constitutes an overpayment.

           This limitation also applies to the WC plans of the District of Columbia, American
           Samoa, Guam, Puerto Rico, and the Virgin Islands. It also applies to the Federal WC



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           plans provided under the Federal Employees' Compensation Act, the U.S.
           Longshoremen's and Harbor Workers' Compensation Act and its extensions, and the
           Federal Coal Mine Health and Safety Act of 1969 as amended (the Federal Black Lung
           Program).

           These Federal programs provide WC protection for Federal Civil Service employees and
           certain other categories of employees not covered, or not adequately covered, under State
           WC programs, for example:

              •   Coal miners totally disabled due to pneumoconiosis;

              •   Maritime workers (with the exception of seamen);

              •   Employees of companies performing overseas contracts with the United States
                  government;

              •   Employees of American companies who are injured in an armed conflict;

              •   Employees paid from nonappropriated Federal funds (such as employees of post-
                  exchanges);




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              •   Offshore oil field workers; and

              •   Qualified claimants under the Department of Labor’s Energy Employees
                  Occupational Illness Compensation Program.

           The Federal Employers' Liability Act, which covers merchant seamen and employees of
           interstate railroads, is not a WC law or plan for purposes of this exclusion. Similarly,
           some States have employers' liability acts. These also are not considered WC acts for
           purposes of this exclusion. However, they are considered liability insurance and the MSP
           liability rules apply.

           All WC acts require that the employer furnish the employee with necessary medical and
           hospital services, medicines, transportation, apparatus, nursing care, and other necessary
           restorative items and services. However, in some States there are limits to the amount of
           medical and hospital care provided. For specific information regarding the WC plan of a
           particular State or territory, contact the appropriate agency of that State or territory. If
           payment for services cannot be made by WC because they were furnished by a source not
           authorized by WC, such services can be paid for by Medicare.

           The beneficiary is responsible for taking whatever action is necessary to obtain payment
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           under WC where payment under that system can reasonably be expected (e.g., timely
           filing a claim, furnishing all necessary information). If failure to take proper and timely
           action results in a loss of WC benefits, Medicare benefits are not payable to the extent
           that payment could reasonably have been expected under WC.




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           B. - Workers’ Compensation Medicare Set-Aside Arrangements (WCMSAs)

           A WCMSA is an allocation of funds from a workers’ compensation (WC) settlement,
           judgment or award for future medical and/or future prescription drug expenses related to
           the WC injury and/or illness/disease. Where a WC settlement specifies that a portion of
           the settlement is for a WCMSA, Medicare may not pay for future medical and/or
           prescription drug services until the administrator of the WCMSA provides evidence that
           payments were made appropriately for services that Medicare would otherwise reimburse
           and that the funds deposited in the WCMSA account were appropriately exhausted
           (disbursed only for services related to the WC injury or illness/disease). In addition,
           Medicare will not pay conditionally for diagnosis codes related to the set-aside
           occurrence. Once the set-aside amount is exhausted and accurately accounted for as set
           forth in the following sections, Medicare will pay primary for future Medicare covered
           medical and/or prescription drug expenses related to the WC injury or illness/disease.
           NOTE: There are situations where WCMSA benefits may terminate, or deplete, during a
           beneficiary’s provider facility stay or upon a physician’s visit and a residual payment is
           due. Under these circumstances Medicare may make a residual Medicare secondary
           payment. The term “residual payment” is defined as: a payment Medicare makes on a
           claim where available funds have been exhausted from the WCMSA benefit or
           responsibility for payment terminates mid-service. The shared systems, the A/B MACs,
           and DME MACs may pay this residual secondary payment by sending the primary payer




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           amounts to the MSPPAY module and calculate Medicare’s payment if such services are
           covered and reimbursable by Medicare.

           50.1 - Effect of Payments Under Workers' Compensation Plan
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           No Medicare payment may be made if WC has paid an amount:

              •   Which equals or exceeds the gross amount payable by Medicare;

              •   Which equals or exceeds the provider's charges for Medicare covered services; or

              •   The provider, physician or other supplier is either obligated to accept, or
                  voluntarily accepts, a primary plan’s payment as full payment.

           NOTE: In general, WC medical benefits constitute a service benefit, i.e., the payment
           constitutes full discharge of the patient's liability for services. In such cases, providers
           are obligated to accept the WC payment as payment in full, and no secondary Medicare
           benefits are payable. If WC pays for Medicare covered services and under the WC law
           or plan the provider is not obligated to accept the payment as payment in full, Medicare
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           secondary benefits may be payable as described in Chapter 5, §40.8.1.

           A - Secondary Medicare Payments




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           When a primary plan’s payment for Medicare covered services is less than the provider's
           charges for those services and less than the gross amount payable by Medicare, and the
           provider does not accept and is not obligated to accept the primary plan’s payment as full
           payment, then Medicare secondary payment can be made as appropriate. In general, the
           Medicare secondary payment is the least of:

              •   The Medicare gross payable amount minus the amount paid by the primary plan
                  for Medicare covered services; or,

              •   The gross amount payable by Medicare minus the applicable deductible and/or
                  coinsurance amount; or

              •   The provider's charges (or an amount less than the charges that the provider is
                  obligated to accept as payment in full) minus any applicable deductible or
                  coinsurance amounts; or

              •   The provider's charges (or an amount less than the charges that the provider is
                  obligated to accept as payment in full), minus the amount paid by the primary
                  plan for Medicare covered services.

           NOTE: Medicare uses the amount the provider is obligated to accept as payment in full




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           when:

              1. The provider is obligated to accept an amount that is less than its charges (e.g.,
                 under the terms of a preferred provider agreement), and

              2. The primary payer pays less than charges and less than the amount the provider is
                 obligated to accept as payment in full for reasons other than failure to file a proper
                 claim (e.g., because of the imposition of a primary payer deductible and/or
                 copayment).

           In the absence of a lower amount that the provider is obligated to accept as payment in
           full, the amount of the provider's actual charges is used in determining Medicare's
           secondary payment.

           If WC pays a physician's or other supplier's full charges for medical services or pays a
           lesser amount based on its reasonable charge screen or fee schedule which must be
           accepted as payment in full, secondary Medicare benefits may not be paid to supplement
           the amount paid by WC. In addition, the physician or other supplier cannot charge the
           beneficiary or any other party for the services. This is because WC medical benefits
           constitute a service benefit, i.e., the payment constitutes full discharge of the patient's
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           liability for the services.

           B - Workers' Compensation Does Not Pay for All Services




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           Where WC does not pay for all services furnished to a beneficiary, Medicare benefits
           may be paid for those services not covered under WC. For example, the services of a
           physician not authorized to furnish medical care under WC, may be reimbursed under
           Medicare. (See §50.1.)

           C - Charges Included Non-Work Related Items or Services

           If WC does not pay all of the charges because only a portion of the services is
           compensable, i.e., the patient received services for a condition which was not work
           related concurrently with services which were work-related, Medicare benefits may be
           paid to the extent that the services are not covered by any other source which is primary
           to Medicare. A physician/supplier is permitted under WC law to charge an individual or
           the individual's insurer for services that are not work related.

           D - Workers' Compensation Cases Involving Liability Claims

           Most State laws provide that, if an employee is injured at work due to the negligent act of
           a third party, the employee cannot receive payments from both WC and the third party for
           the same injury. If the individual is covered by a GHP and is age 65 or over, or is eligible
           or entitled to Medicare based on ESRD and covered by a GHP, or is under age 65 and has
           LGHP coverage and entitled to Medicare based on disability, the GHP may also be




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           primary to Medicare. Generally, WC benefits are paid while the third party claim is
           pending. However, once a settlement of the third party claim is reached or an award has
           been made, WC may recover the benefits it paid from the third party settlement and may
           deny any future claims for that injury up to the amount of the liability payment made to
           the individual.

           If WC does not pay for services or recovers benefits it previously paid for services solely
           because a third party is determined to be liable, Medicare is not secondary under this
           provision, to the extent of the nonpayment or recovery by WC. However, Medicare may
           be secondary for services covered under the liability insurance provision. Consider these
           cases under the policies in §40 and Chapter 7, §§50.8.

           E - Possible Coverage of Work Related Services Under No-Fault Insurance or
           Group Health Plan

           Where services are covered in part by WC and also under no-fault insurance, WC pays
           first, the no-fault insurance pays second and Medicare would be the residual payer. (See
           §60.) If the individual is covered by a GHP and is age 65 or over; or is under age 65 and
           entitled to Medicare solely because of ESRD, or is entitled as an active individual,
           including the member of the family of such individual, who is entitled to benefits on the
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           basis of disability, the employer plan coverage may also be primary to Medicare. (See
           §10, §20, and §30 respectively.)

           Accordingly, whenever WC pays in part for services, and the physician or other supplier
           does not accept and is not obligated to accept such payment as payment in full, and there



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           is information which indicates that the services may also be reimbursable under no-fault
           insurance or under a GHP, the contractor follows the instructions in the Medicare
           Secondary Payer Manual (MSP) Manual, Chapter 5, "Contractor Prepayment Processing
           Requirements," §§40.6, or §10.4.

           If there is no coverage under no-fault insurance, but another insurer is shown on the bill,
           and there is indication of primary GHP coverage under §10, §20, or §30, the other insurer
           is to be billed for the services not paid for by WC. The other insurer is billed because, in
           the case of a beneficiary who is injured on the job and who is covered by private health
           insurance, it is assumed that the individual is employed and that the other insurance is a
           GHP.
           If the services provided to the Medicare beneficiary are not related to an automobile
           accident (see §60) and there is no indication of primary group health plan coverage under
           §10 or §20, Medicare may pay benefits for the services not covered under WC.

           F - Workers' Compensation Pays Only for Services of Certain Physicians

           In some States, physicians' services are covered under WC only if furnished by a
           physician selected by the employer or the WC carrier or if furnished by a member of a
           panel of physicians authorized to furnish care in WC cases. In such cases, if the
           individual engages the services of another physician (for whose services the individual is




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           not entitled to receive WC benefits), Medicare payment for such services is not
           precluded.

           G - Contested Workers' Compensation Claims

           An employee may appeal the refusal of an employer to pay WC benefits, or an employer
           may appeal the award of benefits to an employee by the WC agency. Such appeals are
           generally heard by a hearing officer or judge of the agency, with further appeal from such
           decision to the WC agency or appeals board and from there to the courts. Sometimes
           contested claims are settled by compromise agreement between the parties with the
           approval of the WC agency.

           In general, a decision by a State WC agency on a contested claim, or a compromise
           settlement that has been approved by the agency should be accepted as a basis for
           applying the WC exclusion, except where the settlement did not make reasonable
           provision for payment under WC of all work-related medical expenses. Thus, where an
           individual has been denied WC benefits for a particular illness or injury, the contractor
           allows claims for treatment of that condition unless the decision or settlement is clearly
           inconsistent with the medical facts and applicable State law and has the effect of shifting
           to the Medicare program liability for medical expenses which are the responsibility of the
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           State WC program. Where it is clear that an attempt was made to shift responsibility to
           the Medicare program, the contractor denies the Medicare claim. The conclusions should
           be explained in detail in the denial notice and state that the beneficiary may wish to
           request a reopening under the WC law.




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           60 - No-Fault Insurance
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Under §1862(b)(2) of the Act, (42 U.S.C. 1395y(b)(1)), Medicare does not make
           payment for covered items or services to the extent that payment has been made, or can
           reasonably be expected to be made under no-fault insurance. Medicare is secondary to
           no-fault insurance even if State law or a private contract of insurance stipulates that its
           benefits are secondary to Medicare benefits or otherwise limits its payments to Medicare
           beneficiaries. Under certain circumstances, Medicare may make conditional payments if
           the no-fault insurance will not pay or will not pay promptly (i.e., 120 days after receipt of
           the claim). Conditional payments are conditioned on reimbursement to the Medicare
           program to the extent that payment with respect to the same items or services has been
           made, or could be made, under no-fault insurance.

           If services are covered under no-fault insurance, that insurance must be billed first. If the
           insurance does not pay all of the charges, a claim for secondary Medicare benefits can be
           submitted. Medicare can pay for services related to an accident if benefits are not
           available under the individual's no-fault insurance coverage because that insurance has
           paid maximum benefits for the accident on items or services not covered by Medicare or
           on non-medical items such as lost wages.




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           The question in each case involving accident-related medical expenses is whether no-
           fault benefits can be paid for these particular services. If so, the no-fault insurance is
           primary. If not, Medicare may be primary. Primary Medicare benefits cannot be paid
           merely because the beneficiary wants to save insurance benefits to pay for future services
           or for non-covered medical services or non-medical services. Since no-fault insurance
           benefits would be available in that situation, they must be used before Medicare can be
           billed.

           If there is an indication that the individual has filed, or intends to file a liability claim
           against a party that allegedly caused an injury, the contractor follows the procedures
           related to MSP liability insurance situations once the no-fault insurance is exhausted.

           60.1 – Medicare’s Recovery Rights
           (Rev. 49, Issued: 04-07-06; Effective/Implementation: 05-08-06)

           Medicare has a statutory direct right of recovery from the no-fault insurance as well as
           any entity that has received payment directly or indirectly from the proceeds of a no-fault
           insurance payment. Medicare's recovery rights take precedence over the claims of any
           other party, including Medicaid. Medicare's recovery right is superior to other entities
           including Medicaid because Medicare’s direct right of recovery is explicitly prescribed in
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           Federal law and other entities’ recovery rights are based on either State law or
           subrogation rights.

           In addition to its direct rights of recovery, Medicare has subrogation rights.
           "Subrogation" literally means the substitution of one person or entity for another. If



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           Medicare exercises its subrogation rights, Medicare is a claimant against the no-fault
           insurer to the extent that Medicare has made payments to or on behalf of the beneficiary
           for services related to claims against the no-fault insurer. Medicare can be a party to any
           claim by a beneficiary or other entity against no-fault insurance and can participate in
           negotiations concerning the total no-fault insurance payment and the amount to be repaid
           to Medicare.

           70 – Interest on MSP Recovery Claims
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)

           Section 1862(b)(2)(B)(i) of the Social Security Act (the Act) and 42 C.F.R. 411.24(m)
           provide express authority to assess interest on Medicare Secondary Payer (MSP) debts.
           Interest is calculated on MSP debts using the method applicable to Non-MSP Medicare
           overpayments and underpayments as stated in 42 C.F.R. 405.378. For Medicare
           overpayments and underpayments and MSP debts, interest is calculated in full 30-day
           periods. Interest instructions for Medicare overpayments and underpayments are found in
           Chapter 4, Pub. 100-06, Medicare Financial Management Manual.

           70.1 – MSP Debt Interest Calculation Methodology
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)




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           With respect to the recovery of payments for items and services furnished before October
           31, 1994, CMS charges interest, exercising its common law authority (see 42 CFR
           411.24(m)(1).

           With respect to the recovery of payments for items and services furnished on or after
           October 31, 1994, CMS charges interest in accordance with section 1862(b)(2)(B)(i) of
           the Act (see 42 CFR 411.24(m)(2)). The method for calculating interest is set forth in 42
           CFR 405.378. The interest rate on overpayments is determined in accordance with
           regulations promulgated by the Secretary of the Treasury and is the higher of the private
           consumer rate or the current value of funds rate prevailing on the date the recovery
           demand letter is issued.

           Interest is computed for both delinquent payments and installment payments as simple
           interest using a 360-day year. The U.S. Postal Service postmark date (or the date of
           physical receipt in the contractor’s corporate mail area for a commercial shipper) is used
           to determine the receipt date of the payment.

           Interest is calculated for a 30-day period as follows:

              •   Principal times Prevailing Interest Rate + Interest for Year, and
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              •   Interest for Year divided by 12 = 30-day Interest

           Effective October 1, 2004, 42 C.F.R. 405.378 and 42 C.F.R. 411.24 were amended to
           change how interest is calculated on MSP recoveries. For debts established before


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           October 1, 2004, interest on delinquent debt is due and payable for the entire 30-day
           period as of the first day of each 30-day period. For debts established on or after October
           1, 2004, interest on delinquent debts is due and payable as of the end of each 30-day
           period.

           70.2 – MSP Debt Interest Accrual
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)

           Interest “accrues” from the date of the recovery demand letter but is not “assessed”
           unless/until the debt becomes delinquent, (i.e., if the first demand letter provided for 60
           days for the debtor to repay the debt and was dated 8/31/04, the entire debt will become
           delinquent on 10/30/04 or 61 days [1 day delinquent] after the date of the demand if it
           remains owing.)

           The general rule and specific examples of interest accrual for MSP recoveries are as
           follows:

           Interest will accrue from the date the debt is established. MSP debts are routinely
           established as of the date of the initial recovery demand letter. Interest is owed when the
           debt is not fully resolved/paid within the time period specified in the recovery demand
           letter (e.g., 60 days). If payment is received within the time-frame specified in the




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           recovery demand letter, no interest will be due or assessed. If payment is not received
           when due, interest is assessed on the outstanding principal amount from the date of the
           initial recovery demand letter for each full 30-day period.

           Reminder regarding the first day of the 30 day interest period -- The date of the
           recovery demand letter (not the day after) is the first day of the first 30-day period.
           Examples:

           MSP Debt Established Prior to 10/01/2004 –Recovery Demand Letter Specified that
           Payment was due within 60 Days. - On 08/31/2004, the contractor issues a recovery
           demand letter establishing an MSP-based debt for $10,000 and stating that interest will be
           charged if payment in full is not made within 60 days. Payment is not remitted until
           11/04/2004 (65 days after the date of the recovery demand letter). Interest has accrued on
           the $10,000 for three 30-day periods: one for the first 30 days, one for the period of time
           between days 31-60, and one for the period of time between days 61-65 (because interest
           is due and payable for the full 30-day period as of the first day of that period).

           MSP Debt Established Prior to 10/01/2004 – Example of Interest Accrual –
           Recovery Demand Letter Specified that Payment was Due Within 30 Days. On
           08/31/2004, the contractor issues a recovery demand letter establishing an MSP-based
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           debt for $10,000 and stating that interest will be charged if payment in full is not made
           within 30 days. Payment is not remitted until 10/03/2004 (33 days after the date of the
           recovery demand letter). Interest has accrued on the $10,000 for two 30-day periods: one
           for the first 30 days, and one for the period of time between days 31-60 (because interest
           is due and payable for the full 30-day period as of the first day of that period).



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           MSP Debt Established On or After 10/01/2004 – Recovery Demand Letter Specified
           that Payment was due within 60 Days. On 10/31/2004, the contractor issues a recovery
           demand letter establishing an MSP-based debt for $10,000 and stating that interest will be
           charged if payment in full is not made within 60 days. Payment is not remitted until
           01/04/2005 (65 days after the date of the recovery demand letter). Since only two full 30-
           day periods have passed, interest has accrued on the $10,000 for two 30-day periods.

           MSP Debt Established On or After 10/01/2004 – Example of Interest Accrual –
           Recovery Demand Letter Specified that Payment was Due Within 30 Days. On
           10/01/2004, the contractor issues a recovery demand letter establishing an MSP-based
           debt for $10,000 and stating that interest will be charged if payment in full is not made
           within 30 days. Payment is not remitted until 11/03/2004 (33 days after the date of the
           recovery demand letter). Since only one full 30-day period has passed, interest has
           accrued on the $10,000 for one 30-day period.

           70.2.1 – MSP Debt Interest Accrual on Partial Payments
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)

           For situations where partial payment is received on a debt with outstanding interest --
           Payment is normally credited to interest first, principal (HI first, then SMI) second,




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           leaving an outstanding amount of principal due (or in some situations, leaving both
           principal and interest due if the partial payment is insufficient to satisfy the outstanding
           interest amount).

              •   For debts established before 10/01/04, interest for the entire 30-day period in
                  which the partial payment was received is required to be accrued and posted
                  before application of the partial payment. Consequently, further interest/any
                  additional interest on the outstanding principal amount for an MSP debt
                  established before 10/1/04 would be calculated starting with the first day of the
                  next 30-day period following receipt of the check.

                  Example: Debt established 8/31/04 for $500 and a partial payment of $200
                  dollars was received (post marked) 11/1/04. Contractors shall calculate and post
                  interest specific to 3 30-day periods (63 days from date of demand equals 3
                  interest periods). Assuming the interest equaled $5 for each 30-day periods, $15
                  would be applied to interest and $185 would be applied to principal. The
                  remaining outstanding principal of $315 would continue to accrue interest.
                  Interest for an additional prospective 30-day period for the $315 would be due on
                  day 91 (the first day of a new 30-day period as interest is due and payable for the
                  full 30-day period as of the first day of each period).
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              •   For debts established on or after 10/1/04 where a partial payment is received
                  midway through the 30-day period, interest on the debt will not have accrued up
                  to the date of payment, but only through the end of the prior 30-day period.
                  Consequently, further interest/additional interest on the outstanding principal



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                  amount for an MSP debt established on or after 10/1/04 would be calculated on
                  the principal amount outstanding as of the end of the 30-day period in which the
                  partial payment was received and would be calculated from the first day of the
                  30-day period in which the partial payment was received.

                  Example: Debt established 10/01/04 for $500 and a partial payment of $200
                  dollars was received (post marked) 12/1/04. Contractors shall calculate and post
                  interest specific to 2 full 30-day periods (62 days from date of demand equals 2
                  full interest periods). Assuming the interest equaled $5 for each 30-day periods,
                  $10 would be applied to interest and $190 would be applied to principal. The
                  remaining outstanding principal of $310 would continue to accrue interest.
                  Interest for an additional retrospective 30-day period for the $310 would be due
                  on day 91 (the day after the end of a current 30-day period, as additional interest
                  is due only after each full 30-day period for that part of the principal that remains
                  unresolved).

           70.3 – MSP Debt Interest Assessment
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)

           Under the regulations for calculating interest, as effective for MSP debts established on
           or after October 1, 2004, interest is assessed for each full 30-day period when payment is




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           not made in full (both principal and interest) and continues to be assessed for each full
           30-day period on any portion of the debt that remains outstanding. This change in the
           manner in which interest is calculated applies to all MSP debts, both GHP-based debt and
           non-GHP-based debt, regardless of who is the debtor. Interest on MSP debts established
           prior to October 1, 2004, will continue to be assessed under the former method (interest is
           due and payable as of the first day of each 30-day period for that full 30-day period) until
           recovered in full. (Contractors are reminded that, in those rare instances where they have
           an “interest only” debt, debt does not accrue interest.)

           NOTE: Contractors shall implement the instruction in CR 4012 which provides 60 days
           for resolution of the debt prior to interest assessment for all MSP debt established on or
           after the effective date of the CR. That is, effective with CR 4012, all recovery demand
           letters for new MSP debt will provide a period of 60 days for repayment before the debt
           is delinquent. If the debt becomes delinquent, interest accrues from the date of the
           original demand.

           70.3.1 - Additional Rules with Regard to the Assessment and Collection
           of Interest for MSP-based Debts
           (Rev. 45, Issued: 12-16-05; Effective/Implementation Dates: 01-17-06)
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              •   Interest must be charged on all MSP debts except: 1) GHP-based debt where the
                  beneficiary is the debtor, and 2) debt where the “current debtor,” as that term is
                  defined in section 60.2 of Pub. 100-05, Chapter 7, is a Federal entity. The
                  requirement concerning debtors that are Federal entities is required by law and is
                  a new requirement for Medicare contractors. To implement this requirement,


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                  contractors are to identify all outstanding debts where a Federal entity is the
                  “current debtor.” Once identified, contractors must make a downward adjustment
                  for all accrued interest previously reported and associated with these debts. If
                  systems changes are necessary to cease interest accrual for these debts, contactors
                  must manually adjust the accrued interest amounts for these debts on the quarterly
                  M751/MC751 reports until systems changes can be completed.

           NOTE: The rule applies only when the current debtor is the Federal entity. It does not
           apply in the rare circumstance where the employer is a Federal entity.

              •   but the current debtor is the insurer or TPA.

              •   Interest charged is simple interest, not compound interest. The CMS does not
                  charge interest on any outstanding interest. Interest accrues only on unpaid
                  principal amounts.

              •   When compromising an MSP debt, CMS’ primary concern is protection of the
                  Trust Funds. When CMS compromises a debt, the policy is to compromise
                  interest first and principal second; otherwise, compromises would often be of little
                  or no benefit to the Trust Funds. The only exception to this policy would be if a
                  compromise agreement specifically allocates the amount to be repaid in some




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                  other manner. The amount compromised is written off closed as bad debt. Two
                  examples of the correct application of payment received from the debtor when
                  CMS has notified the contractor of a compromise agreement include:

                      o Assume there is an AR with principal due of $1000, interest due of $200
                        as of the date of receipt of payment, and CMS has agreed to compromise
                        for $700. When the payment of $700 is received, the end result must be:
                        $200 interest written off closed as bad debt, $300 principal written off
                        closed as bad debt, and the $700 payment applied to principal.

                      o Assume there is an AR with principal due of $2000, interest due of $1000
                        as of the date of receipt of payment, and CMS has agreed to compromise
                        for $2200. When the payment of $2200 is received, the end result must
                        be: $800 interest written off closed as bad debt, $200 of the payment
                        applied to interest, and $2000 of the payment applied to principal.

           As long as the agreed upon compromise amount is paid within the time frame specified
           by the RO, any interest accrued after the date of the compromise agreement is written off
           closed as bad debt.
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           NOTE: Contractors may not take write-off closed actions for the compromised
           (“forgiven”) portions of a debt until payment for the remaining portion of the debt has
           been received. Contractors shall maintain the compromise instructions from CMS to
           support the associated write-off closed action(s) for principal and/or interest.




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           NOTE: Contractors will be notified by CMS when Treasury has compromised a debt
           and instructed as to how the compromise portion of the debt shall be shown on the
           financial statements.

           If contractors cannot achieve the necessary result without systems changes, they must
           perform a manual work around until systems changes are made.

              •   Where the principal amount of the debt is adjusted downward due to a valid
                  documented defense or a waiver of recovery under section 1870 of the Social
                  Security Act, the interest amount must be re-calculated based upon the remaining
                  principal. If a contractor’s system does not automatically perform this function
                  when the principal is adjusted, then the contractor must do this manually and enter
                  an appropriate downward adjustment to the associated interest. (Decisions for
                  waiver of recovery under section 1870 of the Act are decisions with regard to the
                  principal amount of the debt. For any amount of principal waived under section
                  1870, the associated interest ceases to exist and must be adjusted downward
                  accordingly.)

              •   Where a contractor is informed by CMS that CMS has waived some or all of the
                  interest on a particular debt, the contractor must perform an adjustment for the
                  amount of the waived interest before applying any payment. A waiver of interest




                                                                                                           Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                  is recorded as an adjustment on line 5(a). (Note: Use of line 5(h) is limited to
                  waiver actions under section 1870 or section 1862 of the Social Security Act).

           Waiver of interest requests should be rare. If such a request is received, the request must
           state the basis for the request. When this information is received, the request shall be
           forwarded to the contractor’s RO MSP coordinator along with the applicable case file.

              •   Contractors are reminded that where a beneficiary establishes that he/she did not
                  receive settlement/judgment/award funds until after the issuance of the recovery
                  demand letter, no interest is due until 60 days from his/her receipt of such funds.
                  Receipt of such funds by the beneficiary or his/her representative constitutes
                  receipt by the beneficiary. In such situations the contractor must adjust off any
                  interest showing as owed within the contractor financial tracking systems for the
                  period prior to 60 days from receipt of the funds. Such an adjustment is not a
                  waiver of interest and shall not be treated as a waiver of interest and forwarded to
                  the RO.

           Contractors are furnished with the applicable interest rates on a regular basis through a
           separate notification. Contractors shall track and report interest manually, if necessary, in
           order to comply with the above instructions.
                                                                                                           EXH : 000033 of 000035




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           Transmittals Issued for this Chapter

          Rev #     Issue Date    Subject                                        Impl Date CR#

          R118MSP 04/28/2016      Individuals Not Subject to the Limitation on   05/31/2016 9576
                                  Medicare Secondary Payment (MSP)

          R113MSP 08/06/2015      Instructions for the Shared Systems and   01/04/2016 9009
                                  Medicare Administrative Contractors
                                  (MACs) to follow when a Medicare Residual
                                  Payment must be Paid on Workers’
                                  Compensation Medicare Set-aside
                                  Arrangement (WCMSA) or for Ongoing
                                  Responsibility of Medicals (ORM) Non-
                                  Group Health Plan (NGHP) Medicare
                                  Secondary Payer (MSP) Claims

          R65MSP 03/20/2009       New Common Working File (CWF)                  04/06/2009/ 5371
                                  Medicare Secondary Payer (MSP) Type for        07/06/2009
                                  Workers Compensation Medicare Set-Aside




                                                                                                         Presiding Judge: HON. THOMAS DAWSON WINGATE (648243)
                                  Arrangements (WCMSAs) to Stop
                                  Conditional Payments

          R64MSP 01/09/2009       New Common Working File (CWF)                  04/06/2009/ 5371
                                  Medicare Secondary Payer (MSP) Type for        07/06/2009
                                  Workers Compensation Medicare Set-Aside
                                  Arrangements (WCMSAs) to Stop
                                  Conditional Payments - Rescinded and
                                  replaced by Transmittal 65

          R49MSP 04/07/2006       Manualizing Long-Standing Medicare             05/08/2006 4024
                                  Secondary Payer (MSP) Policy

          R45MSP 12/16/2005       Interest on MSP Debts                          01/17/2006 4125

          R33MSP 08/12/2005       Working Aged Exception for Small               05/20/2005 3768
                                  Employers in Multi-Employer Group Health
                                  Plans (GHPs)
                                                                                                         EXH : 000034 of 000035




          R28MSP 04/28/2005       Working Aged Exception for Small               05/20/2005 3768
                                  Employers in Multi-Employer Group Health
                                  Plans (GHPs)




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          R25MSP 02/25/2005         Changes Included in the Medicare               04/25/2005 3219
                                    Modernization Act (MMA)

          R18MSP 08/27/2004         Application of Medicare Secondary Payer   11/29/2004 3120
                                    Provisions for the Working Aged, Disabled
                                    Former Spouses and Certain Family Members
                                    with Coverage Under the Federal Employees
                                    Health Benefits (FEHB) Program

          R02MSP 10/17/2003         Individuals Not Subject to the Limitation on   04/01/2004 2252
                                    Payment

          R01MSP 10/01/2003         Initial Issuance of Manual                     N/A           N/A

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